Case 9:18-cv-80176-BB Document 792-1 Entered on FLSD Docket 11/20/2021 Page 1 of 8




                         Exhibit A
Case 9:18-cv-80176-BB Document 792-1 Entered on FLSD Docket 11/20/2021 Page 2 of 8




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative                 CASE NO.: 9:18-cv-80176-BB
   of the Estate of David Kleiman, and W&K Info
   Defense Research, LLC,

                         Plaintiffs,

   v.

   CRAIG WRIGHT,

                         Defendant.


                                         VERDICT FORM

         We, the jury, return the following verdict in this matter:

                                       Breach of Partnership

          1.     Do you find that Craig Wright is liable to the Estate of David Kleiman for breach
  of partnership?

         ANSWER YES OR NO ______

         2.     If yes, what amount of compensatory damages do you find were caused by Craig
  Wright’s breach of partnership?

         $________________________ (Provide numerical amount owed from bitcoin)

         $________________________ (Provide numerical amount owed from intellectual
                                   property)

                                             Conversion

       3.     Do you find that Craig Wright is liable to the Estate of David Kleiman and/or
  W&K Info Defense Research, LLC for conversion?

         ANSWER YES OR NO ______

          4.      If you answered “Yes” to question 3, identify the Plaintiff(s) to whom Craig
  Wright is liable for conversion by placing an identifying mark (check or X) next to both (or one)
  of the following:

         ______ Estate of David Kleiman
Case 9:18-cv-80176-BB Document 792-1 Entered on FLSD Docket 11/20/2021 Page 3 of 8




         ______ W&K Info Defense Research, LLC

        5.     For each Plaintiff you checked yes to in question 4, what amount of compensatory
  damages do you find were caused by Craig Wright’s conversion?

         Estate of David Kleiman:

                 $________________________ (Provide numerical amount owed from bitcoin)

                 $________________________ (Provide numerical amount owed from intellectual
                                           property)

         W&K Info Defense Research, LLC:

                 $________________________ (Provide numerical amount owed from bitcoin)

                 $________________________ (Provide numerical amount owed from intellectual
                                           property)

                                             Civil Theft

         6.     Do you find that the Estate of David Kleiman and/or W&K Info Defense
  Research, LLC have proved their claim for Civil Theft against Craig Wright by clear and
  convincing evidence?

                 ANSWER YES OR NO ______

         7.       If you answered “Yes” to question 6, identify which Plaintiff(s) have proven their
  claims of civil theft by placing an identifying mark (check or X) next to both (or one) of the
  following:

         ______ Estate of David Kleiman

         ______ W&K Info Defense Research, LLC

        8.     For each Plaintiff that you checked yes to in question 7, what is amount of
  compensatory damages you find that Craig Wright’s civil theft caused?

         Estate of David Kleiman:

                 $________________________ (Provide numerical amount owed from bitcoin)

                 $________________________ (Provide numerical amount owed from intellectual
                                           property)

         W&K Info Defense Research, LLC:

                 $________________________ (Provide numerical amount owed from bitcoin)
                                            2
Case 9:18-cv-80176-BB Document 792-1 Entered on FLSD Docket 11/20/2021 Page 4 of 8




                $________________________ (Provide numerical amount owed from intellectual
                                          property)

                                               Fraud

       9.     Do you find that Craig Wright is liable to the Estate of David Kleiman and/or
  W&K Info Defense Research, LLC for fraud?

         ANSWER YES OR NO ______

         10.     If you answered “Yes” to question 9, identify which Plaintiff(s) were subjected to
  fraud by placing an identifying mark (check or X) next to one (or both) of the following:

         ______ Estate of David Kleiman

         ______ W&K Info Defense Research, LLC

         11.    If you answered “Yes” to question 9, for each Plaintiff that you checked yes to in
  question 10, what amount of compensatory damages do you find were caused by Craig Wright’s
  fraud?

         Estate of David Kleiman:

                $________________________ (Provide numerical amount owed from bitcoin)

                $________________________ (Provide numerical amount owed from intellectual
                                          property)

                $________________________ (Other)

         W&K Info Defense Research, LLC:

                $________________________ (Provide numerical amount owed from bitcoin)

                $________________________ (Provide numerical amount owed from intellectual
                                          property

                $________________________ (Other)

                                        Constructive Fraud

       12.    Do you find that Craig Wright is liable to the Estate of David Kleiman and/or
  W&K Info Defense Research, LLC for constructive fraud?

         ANSWER YES OR NO ______



                                                  3
Case 9:18-cv-80176-BB Document 792-1 Entered on FLSD Docket 11/20/2021 Page 5 of 8




          13.    If you answered “Yes” to question 12, identify which Plaintiff(s) were subjected
  to constructive fraud by placing an identifying mark (check or X) next to one (or both) of the
  following:

         ______ Estate of David Kleiman

         ______ W&K Info Defense Research, LLC

         14.     If you answered “Yes” to question 12, for each Plaintiff that you checked yes to in
  question 13, what amount of compensatory damages do you find were caused by Craig Wright’s
  constructive fraud?

         Estate of David Kleiman:

                $________________________ (Provide numerical amount owed from bitcoin)

                $________________________ (Provide numerical amount owed from intellectual
                                          property

                $________________________ (Other)

         W&K Info Defense Research, LLC:

                $________________________ (Provide numerical amount owed from bitcoin)

                $________________________ (Provide numerical amount owed from intellectual
                                          property

                $________________________ (Other)

                                     Breach of Fiduciary Duty

         15.     Do you find that Craig Wright is liable to W&K Info Defense Research, LLC for
  breach of fiduciary duty?

         ANSWER YES OR NO ______

         16.    If yes, what amount of compensatory damages do you find were caused to W&K
  Info Defense Research, LLC by Craig Wright’s breach of fiduciary duty?

                $________________________ (Provide numerical amount owed from bitcoin)

                $________________________ (Provide numerical amount owed from intellectual
                                          property

                $________________________ (Other)


                                                  4
Case 9:18-cv-80176-BB Document 792-1 Entered on FLSD Docket 11/20/2021 Page 6 of 8




                                        Unjust Enrichment

           The Estate of David Kleiman’s claim for Unjust Enrichment is pled “in the alternative”
  to its claim for breach of partnership. If you found for the Estate of David Kleiman on its claim
  for breach of partnership, you should skip the next three questions with respect to the Estate of
  David Kleiman but may answer them with respect to W&K Info Defense Research, LLC.

       17.    Do you find that Craig Wright is liable to the Estate of David Kleiman and/or
  W&K Info Defense Research, LLC for unjust enrichment?

         ANSWER YES OR NO ______

          18.     If you answered “Yes” to question 0, identify the Plaintiff(s) to whom Craig
  Wright is liable for unjust enrichment by placing an identifying mark (check or X) next to one
  (or both) of the following:

         ______ Estate of David Kleiman

         ______ W&K Info Defense Research, LLC

          19.   If you answered “Yes” to question 0, for each Plaintiff that you checked yes to in
  question 18, what amount of compensatory damages do you find were caused by Craig Wright’s
  unjust enrichment?

         Estate of David Kleiman:

                 $________________________ (Provide numerical amount owed from bitcoin)

                 $________________________ (Provide numerical amount owed from intellectual
                                           property

                 $________________________ (Other)

         W&K Info Defense Research, LLC:

                 $________________________ (Provide numerical amount owed from bitcoin)

                 $________________________ (Provide numerical amount owed from intellectual
                                           property

                 $________________________ (Other)




                                                  5
Case 9:18-cv-80176-BB Document 792-1 Entered on FLSD Docket 11/20/2021 Page 7 of 8




                                        Amount of Bitcoin

               20.     If you found for Plaintiff(s) on some or all of the claims above, what
         number of bitcoin do you find belong to the Estate of David Kleiman and/or W&K Info
         Defense Research, LLC?

                  ________________________ (Provide a number of bitcoin)



                                      Affirmative Defenses

         20.     Do you find that any of the following claims by the Estate of David Kleiman are
  barred by the statute of limitations?

         Breach of Partnership:       _______ Barred         __________ Not Barred

         Conversion:                  _______ Barred         __________ Not Barred

         Unjust Enrichment:           _______ Barred         __________ Not Barred

         Fraud:                       _______ Barred         __________ Not Barred

         Constructive Fraud:          _______ Barred         __________ Not Barred

        21.     Do you find that any of the following claims by W&K Info Defense Research,
  LLC are barred the statute of limitations?

         Conversion:                  _______ Barred         __________ Not Barred

         Unjust Enrichment:           _______ Barred         __________ Not Barred

         Fraud:                       _______ Barred         __________ Not Barred

         Constructive Fraud:          _______ Barred         __________ Not Barred

         Breach of Fiduciary Duty:    _______ Barred         __________ Not Barred

         22.     Do you find that any of the following claims by the Estate of David Kleiman are
  barred by laches?

         Breach of Partnership:       _______ Barred         __________ Not Barred

         Conversion:                  _______ Barred         __________ Not Barred

         Unjust Enrichment:           _______ Barred         __________ Not Barred

         Fraud:                       _______ Barred         __________ Not Barred
                                                 6
Case 9:18-cv-80176-BB Document 792-1 Entered on FLSD Docket 11/20/2021 Page 8 of 8




         Constructive Fraud:           _______ Barred          __________ Not Barred

         Civil Theft:                  _______ Barred          __________ Not Barred

        23.     Do you find that any of the following claims by W&K Info Defense Research,
  LLC are barred by laches?

         Conversion:                   _______ Barred          __________ Not Barred

         Unjust Enrichment:            _______ Barred          __________ Not Barred

         Fraud:                        _______ Barred          __________ Not Barred

         Constructive Fraud:           _______ Barred          __________ Not Barred

         Breach of Fiduciary Duty:     _______ Barred          __________ Not Barred

         Civil Theft:                  _______ Barred          __________ Not Barred

                                        Punitive Damages

          If you found in favor of the Estate of David Kleiman and/or W&K Info Defense Research,
  LLC for their conversion, fraud, or constructive fraud claims, then you must decide whether
  punitive damages are appropriate and, if so, evaluate the amount of punitive damages to award
  to the Estate of David Kleiman and/or W&K Info Defense Research, LLC.

         We the jury, find

  Defendant Craig Wright is liable to the Estate of David Kleiman on claims asserted by the Estate
  of David Kleiman for punitive damages in the amount of:

         $________________________ (Provide numerical amount)

  Defendant Craig Wright is liable to W&K Info Defense Research, LLC on claims asserted by
  W&K Info Defense Research, LLC for punitive damages in the amount of:

         $________________________ (Provide numerical amount)



  Please have the foreperson sign and date the verdict form.

                               SO SAY WE ALL this ____ day of ___________, 2021.



                               ___________________
                               Foreperson
                                                 7
